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                         IN THE UNITED STATES DISTRICT COURT
                                                                                       u.s~JkiPouRT
                                                                                    EASTERN DISTRICT ARKANSAS

                            EASTERN DISTRICT OF ARKANSAS                                  JUL O6 2022
                                   CENTRAL DIVISION
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UNITED STATES OF AMERICA                     )                                By.             ··- --.   DE? CLERK
                                             )
V.                                           )      No. 4:22CR    OO ;) Od Jj'(Z
                                             )
JOHNNY BOWMAN                                )       18 U.S .C. § 922(g)(l)

                                        INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNT 1

       A.      On or about December 4, 2020, the defendant,

                                     JOHNNY BOWMAN,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year, that is: Possession of Firearms by Ce1iain

Persons and Aggravated Assault, in Pulaski County, Arkansas, Circuit Court in Case Number

60CR-16-4459.

       B.      On or about December 4, 2020, in the Eastern District of Arkansas, the defendant,

                                     JOHNNY BOWMAN,

knowingly possessed, in and affecting commerce, a firearm, that is: a Taurus International

Manufacturing, Inc., model PT-111 MILLENNIUM, 91mn Luger semi-automatic pistol bearing

serial number TLR87208, in violation of Title 18, United States Code, Section 922(g)(l ).

                                           COUNT2

       A.     On or about January 21, 2021, the defendant,

                                     JOHNNY BOWMAN,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a te1m of imprisonment exceeding one year, that is: Possession of Firearms by Ce1iain
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Persons and Aggravated Assault, in Pulaski County, Arkansas, Circuit Court in Case Number

60CR-16-4459.

       B.      On or about January 21, 2021, in the Eastern District of Arkansas, the defendant,

                                     JOHNNY BOWMAN,

knowingly possessed, in and affecting commerce, a firearm, that is: a Glock, model 22, .40 S& W

caliber semi-automatic pistol bearing serial number VMB798, in violation of Title 18, United

States Code, Section 922(g)(l ).

                                   FORFEITURE ALLEGATION

       Upon conviction of Count 1 or Count 2 of this Indictment, the defendant, JOHNNY

BOWMAN, shall forfeit to the United States under Title 18, United States Code, Section 924(d),

Title 21, United States Code, Section 853, and Title 28, United States Code, Section 2461(c), all

firearms and ammunition involved in the commission of the offense.




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